Case 6:21-cv-00023-RBD-DCI Document 27 Filed 05/24/21 Page 1 of 2 PageID 108




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

CONNIE A. BAILEY,

     PLAINTIFF,                                      CASE NO.: 6:21-CV-23-RBD-DCI

V.

MRS BPO, LLC

  DEFENDANT.
___________________________________/

                          NOTICE OF MEDIATOR SELECTION
        Pursuant to this Court’s Scheduling Order [Doc. #25], the parties jointly submit this

Notice of Mediator Selection.

        The parties have conferred and agreed that James Betts Esq. will preside over

mediation in this matter. Mr. Betts’ address is 710 S. Boulevard, Tampa, Florida 33606.

Mr. Betts’ telephone number is 813-254-3302. The parties have agreed to mediate on

September 1, 2021.
Case 6:21-cv-00023-RBD-DCI Document 27 Filed 05/24/21 Page 2 of 2 PageID 109




DATED: May 24th, 2021                          Respectfully submitted,


                                             /s/ Aylix K. Jensen
 /s/ Alexander J. Taylor______________        Aylix K. Jensen (MN Bar #0398588)
 Alexander J. Taylor                          Admitted Pro Hac Vice MOSS &
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 Attorney for Plaintiff




                            CERTIFICATE OF SERVICE
        I, Alexander J. Taylor, certify that on May 24th, 2021, the foregoing document was
filed electronically using the Court’s CM/ECF system, which will accomplish service on
all counsel of record.


                                                   /s/ Alexander J. Taylor
